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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
               v.                            :      Case No. 1:22-cr-00166-MAU
                                             :
JOHN GEORGE TODD III,                        :
                                             :
                                             :
                      Defendant.             :


                                   JOINT STATUS REPORT
       The United States of America, by and through the United States Attorney for the District

of Columbia, and the defendant (the “parties”) hereby respond to the Court’s order directing the

parties to submit include a proposed pretrial schedule for motions deadlines, witness/exhibit list

deadlines, and proposed pretrial conference and motion hearing dates.



                                                    Respectfully submitted,

        JOHN GEORGE TODD III                        MATTHEW M. GRAVES
                                                    United States Attorney
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